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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION



ERNEST HAYWARD WARD,

      Plaintiff,
                                        CIVIL ACTION FILE
v.
                                        NO. 3:17-cv-183-TCB
TROUP COUNTY SCHOOL
DISTRICT,

      Defendant.



                                  ORDER

     This case comes before the Court on Magistrate Judge Russell G.

Vineyard’s supplemental final report and recommendation (the “R&R”)

[80], which recommends granting Defendant Troup County School

District’s motion [54] for summary judgment. Plaintiff Ernest Hayward

Ward has filed objections [83].

     A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,
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677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take

different forms, however, depending on whether there are objections to

the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.” 28 U.S.C.

§ 636(b)(1)(C). In contrast, those portions of the R&R to which no

objection is made need only be reviewed for “clear error.” Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006) (per curiam) (quoting

Diamond v. Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.

2005)).1

      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule



      1 Macort dealt only with the standard of review to be applied to a magistrate’s
factual findings, but the Supreme Court has indicated that there is no reason for
the district court to apply a different standard to a magistrate’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely reviewed both legal and factual conclusions for clear error. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(holding that when a magistrate’s findings of fact are adopted by the district court
without objection, they are reviewed on appeal under a “plain error standard” while
questions of law always remain subject to de novo review).

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facilitates the opportunity for district judges to spend more time on

matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

      After conducting a complete and careful review of the R&R, the

district judge “may accept, reject, or modify” the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge “may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” 28

U.S.C. § 636(b)(1)(C).

      Ward has filed a litany of objections,2 many of which attempt to

reassert arguments raised during summary judgment briefing, which

Court will address in turn.

      First, Ward objects to the R&R’s decision not to consider the

affidavits of Lou Ann Hood, Barb McCain, Donna George, and Heidi

Jones. The magistrate judge did not consider these affidavits because

they did not contain language indicating that they were written under


      2 Ward’s objections span sixty-seven pages, well exceeding the twenty-five-
page limit imposed by Instructions to Parties and Counsel. Regardless, the Court
will consider all objections.

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penalty of perjury. In his objections, Ward asserts that “people who

wrote the affidavits could testify to the statements that they wrote and

signed in front of a notary.” [83] at 4. However, the witnesses’

availability to testify does not erase the requirements for affidavits

imposed by 28 U.S.C. § 1746. Accordingly, Ward’s objection is overruled.

     Second, Ward objects to the R&R’s consideration of Dr. Pat

Barton’s affidavit. Ward asserts that he has the right to confront

Barton, and his inability to do so violates the confrontation clause of the

Sixth Amendment. That objection is overruled as the Sixth Amendment

applies to criminal prosecutions, not civil matters. Ward’s other

objections primarily dispute Barton’s statements in her affidavit. Based

on a review of the record, the R&R, and Ward’s objections, the

magistrate judge properly considered the statements in the affidavit to

which Ward objects, and his objection is overruled.

     Third, Ward asserts that the R&R considered evidence that was

not provided to him during the course of discovery. Ward asserts that

“he should not have to beg for information that is legally supposed to be

supplied by the Defendants.” [83] at 17. The Court agrees with the

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R&R’s conclusion that there were other mechanisms to address this

issue prior to the briefing on summary judgment. Ward’s objection is

overruled.

     Fourth, Ward again seemingly argues that the magistrate judge

should not have considered certain affidavits and exhibits because

Ward did not have them during discovery. For the same reason stated

above, this objection is overruled.

     Fifth, Ward provides the “whole story,” [83] at 20, through the

presentation of multiple facts. He highlights certain facts, and then

points out where those facts are “disputed.” However, the R&R correctly

determined that those facts are undisputed because Ward either

admitted or did not respond to Troup County School District’s

statement of material facts. The objection is overruled.

     Sixth, Ward asserts that he has shown a genuine issue for trial.

However, having conducted a de novo review of the record, the Court

finds that no genuine issue for trial remains.

     Seventh, Ward argues that he established that there is an issue of

material fact as to whether the school system had an unwritten policy

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or custom of placing low-income black students in specific elementary

schools. The R&R properly determined that Ward’s affidavit lacks facts

to enable the Court to determine whether there was in fact a

discriminatory policy or custom in the school district. Ward’s objection

is overruled.

     Eighth, Ward restates a timeline of events establishing pretext.

However, Ward does not specifically object to any of the R&R’s findings.

Because Ward fails to identify a specific basis for the objection, the

Court need not consider it. See Marsden v. Moore, 847 F.2d 1536, 1548

(11th Cir. 1988).

     Ninth, Ward seemingly asserts that he was treated less favorably

than similarly situated individuals outside his protected class.

However, the magistrate judge properly analyzed each of Ward’s

proposed comparators. The comparators Ward identifies are not

“similarly situated in all relevant aspects.” Washington v. United Parcel

Serv., Inc., 567 F. App’x 749, 752 (11th Cir. 2014). The quantity and

quality of the comparators’ misconduct is not nearly identical to Ward’s.

The objection is overruled.

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     Tenth, Ward again asserts that he has established that there was

pretext. He further argues that Judge Vineyard confused a Professional

Development Plan (“PDP”) with a Professional Learning Plan (“PLP”).

There is nothing to support that assertion, and the objection is

overruled.

     The eleventh objection is not clear. Ward seems to assert that he

has established a prima facie case of discrimination. The R&R correctly

concluded that Ward has not established a prima facie case of

discrimination as it relates to his placement on a professional

development plan but has established a prima facie case of sex

discrimination as it relates to his reassignment to a teaching position.

Thus, that objection is also overruled.

     Twelfth, Ward objects to the R&R’s finding that Ward’s claims fail

because the school district has articulated legitimate, non-

discriminatory reasons for its actions, which Ward has failed to show

were pretextual. After reviewing the evidence in this case, the Court

finds that there were legitimate, non-discriminatory reasons for Ward’s

reassignment to the teaching position. Though his objections provide a

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timeline of events to establish pretext, Ward has failed to carry his

burden that the proffered reasons were not the true reasons for the re-

assignment. Thus, the Court will also overrule that objection.

     In his thirteenth objection, Ward merely quotes a previous R&R

and asserts that his affidavit supports a claim of retaliation. The Court

need not address such a conclusory objection.

     The fourteenth and final objection concerns various “disputed”

facts. Ward alleges that his inclusion of certain students in gifted

classes does not constitute misconduct. However, even if the inclusion of

those students does not constitute misconduct, Ward does not identify

how this fact changes the outcome.

     Next, Ward asserts that suspensions at his school accounted for

nearly half of the out-of-school suspensions in the school district.

Though he asserts that the data is misleading, he provides no evidence

to support that assertion and does not identify competing data.

     Then Ward disputes that his supervisor received complaints from

teachers regarding his performance and professionalism. Again, he does

not provide any evidence that the teachers did not make complaints.

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     After that, Ward disputes that he completed annual evaluations

for teachers without performing the requisite classroom observations

required by the school district. Again, he does not actually dispute that

he stated this, but rather offers a justification for his statement.

     Ward then objects to the finding that when required to submit a

revised school improvement plan, he told his supervisor to tell him what

to write. Again, he merely offers justification for the statement.

     And finally, Ward disputes that his performance was uniquely

poor. Rather, he argues that he was successful based on student test

scores. Similarly, he asserts that his failure to understand proper

curriculum and instruction is a disputed fact. He purports that his

school’s test scores would not have risen if he failed to understand

curriculum and instruction. Again, this fact does not alter the analysis

as Defendant’s actions were based on his conduct rather than academic

performance of students.

      The R&R appropriately address these “disputed facts,” as has the

undersigned, and finds that no genuine dispute remains. Accordingly,

Ward’s objection is overruled.

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     Having conducted a complete and careful review of the R&R,

including a de novo review of those portions of the R&R to which Ward

objects, the Court overrules Ward’s objections [83] and adopts as its

order the R&R [80]. Defendant’s motion [54] for summary judgment is

granted, and the Clerk is directed to close this case.

     IT IS SO ORDERED this 8th day of April, 2020.



                                 ___________________________________
                                 Timothy C. Batten, Sr.
                                 United States District Judge




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